Case 5:20-cr-50035-JLV Document 329 Filed 10/21/21 Page 1 of 4 PageID #: 1263




                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                           5:20-CR-50035-JLV-01

                    Plaintiff,
                                              ORDER DENYING DEFENDANT’S
                                              REQUEST FOR JUDICIAL NOTICE
       vs.                                             (DOC. 319)

JOSEPH FLYING HORSE,

                    Defendant.



      Pending is a pleading entitled “Thirteenth 1 Request for Judicial Notice of

1st Defendant” filed on September 29, 2021, at Docket 319.

                                  JURISDICTION

      Defendant is charged in an Indictment with Possession of a Stolen

Firearm in violation of 18 U.S.C. §§ 922(j) and 924(a)(2) and Possession of a

Firearm While Under Indictment in violation of 18 U.S.C. §§ 922(n) and

924(a)(1)(D). The pending Motions were referred to the Magistrate Judge

pursuant to 28 U.S.C. § 636(b)(1)(B) and United States District Judge Jeffrey L.

Viken’s Standing Order dated April 1, 2018.




      1 The court notes that this is Mr. Flying Horse’s twenty-first request for
judicial notice, not the thirteenth request for judicial notice.
Case 5:20-cr-50035-JLV Document 329 Filed 10/21/21 Page 2 of 4 PageID #: 1264




                           FACTUAL BACKGROUND

      In this request, Mr. Flying Horse argues that the court can take judicial

notice of portions of case law cited by Mr. Flying Horse and legal arguments

regarding subject matter jurisdiction and personal jurisdiction.

                              LEGAL STANDARD

      Rule 201 of the Federal Rules of Evidence provides as follows:

            Rule 201. Judicial Notice of Adjudicative Facts.

            (a) Scope. This rule governs judicial notice of an adjudicative
                fact only, not a legislative fact.

            (b) Kinds of Facts that May Be Judicially Noticed. The
                court may judicially notice a fact that is not subject to
                reasonable dispute because it (1) is generally known
                within the trial court’s territorial jurisdiction; or (2) can
                be accurately and readily determined from sources whose
                accuracy cannot reasonably be questioned.

            (c) Taking Notice. The court: (1) may take judicial notice on
                its own; or (2) must take judicial notice if a party requests
                it and the court is supplied with the necessary
                information.

            (d) Timing. The court may take judicial notice at any stage
                of the proceeding.

            (e) Opportunity to Be Heard. On timely request, a party is
                entitled to be heard on the propriety of taking judicial
                notice and the nature of the fact to be noticed. If the
                court takes judicial notice before notifying a party, the
                party on request, is still entitled to be heard.

            (f) Instructing the jury. In a civil case, the court must
                instruct the jury to accept the noticed fact as conclusive.
                In a criminal case, the court must instruct the jury that it
                may or may not accept the noticed fact as conclusive.

FED.R.EVID. 201.



                                        2
Case 5:20-cr-50035-JLV Document 329 Filed 10/21/21 Page 3 of 4 PageID #: 1265




       Pursuant to Federal Rule of Evidence 201, “[t]he court may judicially

notice a fact that is not subject to reasonable dispute because it: (1) is

generally known within the trial court's territorial jurisdiction; or (2) can be

accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” FED. R. EVID. 201(b) (emphasis added). The Court

may only take notice of an “adjudicatory” fact, not a “legislative fact.” Id.

“Adjudicative facts are ‘facts that normally go to the jury in a jury case. They

relate to the parties, their activities, their properties, [and] their businesses.’ ”

Qualley v. Clo–Tex Int'l, Inc., 212 F.3d 1123, 1128 (8th Cir. 2000) (quoting Fed.

R. Evid. 201 advisory committee's note to subdivision (a)). Legislative facts, on

the other hand, “are established truths, facts or pronouncements that do not

change from case to case but apply universally.” United States v. Gould, 536

F.2d 216, 220 (8th Cir. 1976). Rule 201, however, does not extend to

legislative facts, and a district court “[is] not obligated to inform the jury that it

could disregard the judicially noticed fact.” Gould, 536 F.2d at 221.

Adjudicative facts are “simply the facts of a particular case.” Id. (Notes of

Advisory Committee). “A high degree of indisputability is the essential

prerequisite.” Id. (Notes of Advisory Committee).

      Mr. Flying Horse asks the court to take judicial notice of legal

conclusions or arguments. Neither of these items are adjudicative facts under

FED. R. EVID. 201, and are therefore improper requests. It is well-established

that Rule 201 only applies to adjudicative facts, not legislative facts.

“Legislative facts . . . are those which have relevance to legal reasoning and the

                                          3
Case 5:20-cr-50035-JLV Document 329 Filed 10/21/21 Page 4 of 4 PageID #: 1266




law-making process, whether in the formulation of a legal principle or ruling by

a judge or court or in the enactment of a legislative body.” United States v.

Kraft, No. 1-06-CR-07), 2006 WL 1234889, at *1 (D.N.D. May 3, 2006) (quoting

Qualley v. Clo-Tex Intern, Inc., 212 F.3d 1123, 1128 (8th Cir. 2000)).

Furthermore, the court is not bound to agree with Mr. Flying Horse’s

characterizations of the case law he cites. The court is free to read those

sources and decide for itself what they say. The request for judicial notice is

denied.


                                 CONCLUSION

      For the foregoing reasons, it is hereby

      ORDERED that Defendant’s Request for Judicial Notice (Doc. 319) is

denied.

      DATED this 21st day of October, 2021.

                                     BY THE COURT:



                                     DANETA WOLLMANN
                                     United States Magistrate Judge




                                        4
